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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF KENTUCKY
                                   COVINGTON DIVISION


 STATE OF TENNESSEE, et al.,

                Plaintiffs,

         v.                                           Case No. 2:24-cv-00072-DCR-CJS
                                                      Chief District Judge Danny C. Reeves
 MIGUEL CARDONA, in his official capacity             Magistrate Judge Candace J. Smith
 as Secretary of Education, and UNITED
 STATES DEPARTMENT OF EDUCATION,

                Defendants.



         DEFENDANTS’ MOTION FOR A PARTIAL STAY PENDING APPEAL

       Defendants respectfully request that this Court issue a partial stay, pending appeal, of this

Court’s June 17, 2024, Memorandum Opinion and Order, ECF No. 100 (“Mem. Op.”), which

enjoined the Department of Education from enforcing its April 29, 2024, Final Rule in the plaintiff

States. The Court enjoined the Rule in full, yet Plaintiffs’ and Plaintiff-Intervenors’ (collectively,

“Plaintiffs’”) requests for preliminary relief challenged only a handful of provisions of the Final

Rule, all relating to the Rule’s application of Title IX’s prohibition against sex discrimination to

transgender or non-cisgender individuals. Even then, the allegations of harm underpinning

Plaintiffs’ claims concerned only the application of two discrete provisions—34 C.F.R.

§ 106.31(a)(2) and the definition of “hostile environment harassment” within 34 C.F.R. § 106.2—

that govern particular factual contexts in which recipients may differentiate students based on sex,

such as by providing sex-separated bathrooms and using sex-specific pronouns. Importantly, no

Plaintiff asserts any harm stemming from the Rule’s basic nondiscrimination requirement in 34

C.F.R. § 106.10, which precludes recipients from denying students educational opportunities

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“simply for being . . . transgender.” Bostock v. Clayton Cnty., 590 U.S. 644, 651 (2020). As such,

Defendants request that this Court stay the injunction insofar as it extends beyond the following

provisions of the 2024 Rule: 34 C.F.R. § 106.31(a)(2), and the hostile environment harassment

definition in 34 C.F.R. § 106.2 as applied to discrimination on the basis of gender identity.

                                       LEGAL STANDARD

          In determining whether to grant a stay pending appeal, a court considers (1) likelihood of

success on appeal; (2) whether the applicant will suffer irreparable injury; (3) the balance of

hardships to other parties interested in the proceeding; and (4) the public interest. Nken v. Holder,

556 U.S. 418, 434 (2009); see Ohio State Conf. of NAACP v. Husted, 769 F.3d 385, 387 (6th Cir.

2014). Each of these factors weighs in favor of partially staying the Court’s injunction pending

appeal.

                                           ARGUMENT

   I.        Defendants Have a Strong Likelihood of Success in Establishing that the
             Injunction Is Overbroad.

          The injunction in this case is overbroad, at minimum, because it reaches provisions of the

Rule that were not challenged by Plaintiffs and that did not form the basis for any alleged

irreparable injury underlying their request for preliminary relief. On appeal, Defendants will show

that the Court’s injunction cannot be squared with Title IX’s plain text and Supreme Court

precedent. Defendants recognize that this Court has rejected their arguments. Accordingly,

Defendants refrain from reiterating each of their arguments in detail here, and instead incorporate

their previously filed memoranda in opposition to the preliminary injunction motions by reference.

See Defs.’ Opp’n to Pls.’ Mot. for § 705 Stay & Prelim. Inj., ECF No. 73 (“Defs.’ Opp’n”); Defs.’

Opp’n to Intervenor-Pls.’ Mot. for § 705 Stay & Prelim. Inj., ECF No. 91. But even apart from

Defendants’ argument on the merits of their defense of all parts of the Rule, they have a strong

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likelihood of succeeding in establishing at minimum that the injunction this Court entered was

overbroad, based on well-established remedial principles and the Rule’s express severability

provisions. In this stay motion, Defendants seek only narrower relief, asking that this Court stay

the injunction to the extent it sweeps broader than necessary to “redress the plaintiff[s’] particular

injur[ies]” asserted here, Gill v. Whitford, 585 U.S. 48, 73 (2018)—that is, to the extent it extends

beyond the following provisions of the 2024 Rule: (i) 34 C.F.R. § 106.31(a)(2), and (ii) the hostile

environment harassment definition in 34 C.F.R. § 106.2, as applied to discrimination on the basis

of gender identity.

           A. The Injunction Is Overbroad Because It Reaches Provisions of the Rule Not
              Challenged by Plaintiffs.

       As Plaintiffs’ filings make clear, their claims—and the purported harms underlying those

claims—are grounded in objections to the Rule’s treatment of gender identity. States’ Mot. for a

§ 705 Stay & Prelim. Inj. 9, ECF No. 19-1 (“States Mot.”) (seeking preliminary relief from the

Rule’s “gender-identity mandate”); Intervenor-Pls.’ Mem. in Supp. of Their Mot. for Stay &

Prelim. Inj. 3, ECF No. 63-1 (“Intervenors Mot.”) (claiming “[t]he new rules impose a gender-

identity mandate”). In particular, Plaintiffs’ challenges concern applications of three specific

provisions of the Rule: the scope of prohibited discrimination in § 106.10; the de minimis harm

standard in § 106.31(a)(2); and the definition of hostile environment sex-based harassment in §

106.2. See States Mot. 3-4; Intervenors Mot. 4-7. The Court likewise focused on these provisions

in enjoining the Rule. Mem. Op. 88-91.

       However, the Rule promulgates many amendments to Title IX’s existing regulations

beyond those challenged by Plaintiffs, most of which have nothing to do with gender identity.

These include, for example, provisions regarding the role of Title IX coordinators, 89 Fed. Reg. at

33,885 (34 C.F.R. § 106.8(a)); recipients’ notice and record-keeping obligations, id. at 33,885-86

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(34 C.F.R. § 106.8(c), (f)); access to lactation spaces, id. at 33,888 (34 C.F.R. § 106.40(b)(3)(v));

a recipient’s response to sex discrimination, id. at 33,888-91 (34 C.F.R. § 106.44); and grievance

procedures for claims of sex discrimination, id. at 33,891-95 (34 C.F.R. §§ 106.45, 106.46).

Plaintiffs did not challenge any of these provisions in their requests for preliminary injunctive

relief, and did not identify any harm, irreparable or otherwise, that they stand to suffer as a result

of these aspects of the Rule. Thus, the Court’s injunction was overbroad insofar as it reached these

other portions of the Rule.

       The Court’s suggestion that the inclusion of gender identity “permeates the remaining

regulations,” Mem. Op. 90, cannot be squared with the actual content of these unchallenged

provisions of the Rule, which have nothing to do with gender identity. Nor does anything in the

Rule suggest that the Department’s decision to adopt those provisions turned on its conclusions

about gender identity discrimination. As the Court acknowledged, “[e]ach subsection in which [the

challenged] provisions appear contains a severability clause,” id., which provides that “[i]f any

provision of this subpart or its application to any person, act, or practice is held invalid, the

remainder of the subpart or the application of its provisions to any person, act, or practice shall not

be affected thereby.” Id. (quoting 34 C.F.R. §§ 106.9, 106.16, 106.48). The severability

determination resolves any doubt that the Department would have adopted the Rule’s unchallenged

provisions addressing grievance procedures, lactation accommodations, and other issues not

related to gender identity on their own. See Am. Fuel & Petrochemical Mfrs. v. EPA, 3 F.4th 373,

384 (D.C. Cir. 2021) (explaining that severability of regulations “depends on the issuing agency’s

intent,” and whether the “agency would have adopted the severed portion on its own” to “operate[]

independently” (citations omitted)), cert. denied sub nom. Growth Energy v. Am. Fuel &

Petrochemical Mfrs., 142 S. Ct. 759 (2022).



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           B. Even as to the Challenged Provisions, the Injunction Is Overbroad.

       The Court’s injunction also is overbroad even as to the handful of provisions Plaintiffs

challenged. Most notably, the injunction is overbroad in extending to § 106.10. Title IX prohibits

discrimination “on the basis of sex,” 20 U.S.C. § 1681(a), and § 106.10 sets out the scope of that

general prohibition, explaining that “[d]iscrimination on the basis of sex includes discrimination

on the basis of sex stereotypes, sex characteristics, pregnancy or related conditions, sexual

orientation, and gender identity,” 89 Fed. Reg. at 33,886. Plaintiffs allege no harm from the Rule’s

recognition that prohibited discrimination includes discrimination on the bases of such factors as

pregnancy or sexual orientation; indeed, Plaintiffs nowhere suggest that they intend to engage in

discrimination against students for being pregnant or gay at all. Plaintiffs thus offer no reason to

enjoin these aspects of § 106.10.

       Even as to § 106.10’s inclusion of gender identity, Plaintiffs do not suggest that an

injunction is necessary because they intend to treat transgender students worse for being

transgender. They do not, for instance, claim that they will be irreparably harmed if they cannot

bar transgender students from participating in the science fair or a theatrical production simply for

being transgender, forms of sex discrimination that the Department’s Title IX regulations would

not expressly bar if § 106.10’s definition were to be enjoined. Rather, Plaintiffs object to the Rule’s

provisions regarding gender identity as applied to sex-separate facilities like bathrooms and the

use of pronouns when addressing transgender students. See States Mot. 8-10; Intervenors Mot. 3.

But § 106.10 is not the cause of Plaintiffs’ claimed harms in those respects, which flow from the

provisions of § 106.31(a)(2) regarding permissible sex-separation and § 106.2’s definition of

hostile environment sex-based harassment. See, e.g., Defs.’ Opp’n 9-10.




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          Section 106.10, like Bostock, simply recognizes that discrimination on the basis of gender

identity is necessarily a form of prohibited sex discrimination, without “purport[ing] to address

bathrooms, locker rooms,” 590 U.S. at 681, or other contexts in which different treatment or

separation on the basis of sex may be permitted under Title IX. Accordingly, Plaintiffs offer no

rationale that could support enjoining § 106.10, which the Department also specifically explained

should operate independently if other provisions of the Rule were invalidated. See 89 Fed. Reg. at

33,848 (identifying § 106.10 in its severability discussion as an example of a provision “intended

to operate independently” of other provisions in the Rule, and in particular noting that it is

“distinct” from the Rule’s definition of “sex-based harassment . . . and the prevention of

participation consistent with gender identity, which are addressed in §§ 106.2 and 106.31(a)”).

          The injunction is also overbroad insofar as it bars all applications of § 106.2’s definition

of hostile environment harassment. Plaintiffs object to the application of the 2024 Rule’s hostile

environment harassment standard as applied to gender identity discrimination. States Mot. 16-17;

Intervenors Mot. 16-17; see also Mem. Op. 42, 49. But § 106.2’s hostile environment standard

applies beyond that limited context. Indeed, it protects all students from “[u]nwelcome sex-based

conduct.” 89 Fed. Reg. at 33,884. Plaintiffs did not identify any way in which they face irreparable

harm from § 106.2’s applications outside the context of discrimination on the basis of gender

identity. Thus, there is no basis for enjoining those applications, which are not an asserted cause

of Plaintiffs’ claimed injuries.

    II.      The Balance of Harms and the Public Interest Favor a Partial Stay.

          The remaining stay factors tilt decisively toward the Department. Every time the federal

government “is enjoined by a court from effectuating statutes enacted by representatives of its

people, it suffers a form of irreparable injury.” Maryland v. King, 567 U.S. 1301, 1303 (2012)



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(Roberts, C.J., in chambers) (citation omitted). The harm is particularly pronounced here because

the Rule effectuates Title IX’s twin goals of “avoid[ing] the use of federal resources to support

discriminatory practices [and] provid[ing] individual citizens effective protection against those

practices.” Cannon v. Univ. of Chi., 441 U.S. 677, 704 (1979). No one disputes that preventing

discrimination serves a compelling public interest. See, e.g., EEOC v. Kimberly-Clark Corp., 511

F.2d 1352, 1359 (6th Cir. 1975) (“[T]he eradication of discrimination by race and sex promotes

public interests and transcends private interests.”). Moreover, the overbroad injunction could

prematurely impair the rights of individuals with respect to the Rule’s provisions that are entirely

unrelated to Plaintiffs’ claims by precluding the Department from taking steps to ensure that, inter

alia, breastfeeding and pumping students have access to lactation spaces or that students are not

being punished for being pregnant, gay, or transgender.

       By contrast, Plaintiffs suffer no harm from the Department’s limited stay request. As

discussed above, Plaintiffs plainly suffer no harm from the many provisions of the Rule that they

did not challenge. As to the limited provisions Plaintiffs have challenged, the allegations of harm

underpinning Plaintiffs’ claims concerned only the application of two discrete provisions—34

C.F.R. § 106.31(a)(2) and the definition of hostile environment harassment within 34 C.F.R.

§ 106.2—governing factual contexts in which recipients may differentiate students based on sex,

such as by providing sex-separated bathrooms and using sex-specific pronouns. Accordingly, the

harms that formed the basis for the Court’s issuance of preliminary relief are not implicated here,

and, in any event, do not outweigh the harm to the Department from an overbroad injunction.




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                                         CONCLUSION

       The Court should stay the preliminary injunction to the extent it extends beyond the

following provisions of the 2024 Rule: 34 C.F.R. § 106.31(a)(2), and the “hostile environment

harassment” definition in 34 C.F.R. § 106.2 as applied to gender identity discrimination.

       Under Rule 8 of the Federal Rules of Appellate Procedure, a party seeking to stay an

injunction pending appeal ordinarily must first seek such relief in the district court. Accordingly,

Defendants respectfully request that the Court rule on this motion by 12:00 noon on July 1, 2024,

after which Defendants plan to seek relief in the Court of Appeals should the Court fail to grant

this motion.

Dated: June 24, 2024                                 Respectfully submitted,

                                                     BRIAN M. BOYNTON
                                                     Principal Deputy Assistant Attorney General

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                                                     Assistant Branch Director

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                             CERTIFICATE OF CONFERENCE

       I certify that on June 21, 2024, I conferred via e-mail with counsel for the Plaintiff States

and counsel for Plaintiff-Intervenors about this motion. By email on June 21, 2024, Whitney

Hermandorfer of the Office of the Tennessee Attorney General informed me that the Plaintiff

States “oppose the forthcoming motion for a partial stay of the preliminary injunction.” Ms.

Hermandorfer further stated that the Plaintiff States “intend to file a response.” By email on June

21, 2024, Jonathan Scruggs, counsel for Plaintiff-Intervenors, informed me that Plaintiff-

Intervenors also oppose Defendants’ motion for a partial stay.



                                                       /s/ Pardis Gheibi




                                CERTIFICATE OF SERVICE

       I certify that on June 24, 2024, the above document was filed with the CM/ECF filing

system.

                                                      /s/ Pardis Gheibi




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